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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
                                               *
John C Dixon                                   *
                              Plaintiff(s)     *
                                               *
                        vs.                    *    Civil Case No.: 1:23−cv−00703−JMC
                                               *
LGX Services LLC                               *
                              Defendant(s)     *



                               CASE MANAGEMENT ORDER


   Pursuant to Standing Order 2019−07, this case has been assigned to a United States
Magistrate Judge for all proceedings, including the entry of final judgment, pending the
consent of all parties. During the time that it takes for all parties to indicate whether they
consent, the filing of preliminary motions should be held in abeyance, unless there are
exigent reasons why such a motion should be filed. Therefore, it is hereby
   ORDERED that the parties are precluded from filing any motion without permission of
the assigned judge until consent is obtained from all parties or the case is reassigned to a
District Judge, if consent from all parties is not obtained; and it is further
   ORDERED that any party wishing to file a preliminary motion as an exception to this
Order must file a letter, not longer than three single−spaced pages, explaining the basis of
the motion the party wishes to file. Once filed, the assigned judge will expedite review of
the letter and take appropriate action, which may include an order permitting the filing of
the motion; and it is further

   ORDERED that the time to file any preliminary motion is tolled until such time that
consent is obtained from all parties or the case is reassigned to a District Judge.



Date: March 30, 2023                                _____________/s/______________
                                                    J. Mark Coulson
                                                    United States Magistrate Judge
